Case 2:05-cr-20212-SH|\/| Document 39 Filed 06/21/05 Page 1 of 2 Page|D 38

F`ii,.r`i`.:_`:

 

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 05 dual 2\ hit 9: 58

Western Division
_r - ;:__ ;,';‘l i.s~.e\J

‘wr`-;`-;§ l 5. DLST- C'T
®t$ijlr§` :,-=i i~t stena-its

UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20212-2-Ma

GLENN JONES

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Governrnent, it is ORDERED that a detention hearing is set for
THURSDAY, .IUNE 23, 2005 at 2:30 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom M-3, 9“‘ Floor, United States Courthouse and Federal Building, 167 North
Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United
States Marshal and produced for the hearing.

Date: lune 20, 2005
M

` TU M. PHAM
UNITED sTATEs MAGISTRATE JUDGE

 

 

1If not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f`) are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8/85) Order of Temporary Detention

This document entered on the docke sheet' m compliance
with Hu|e 55 and/or32{ {b) FRCrP on 25 .;2£1§€{2

: .| l x x F
UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:05-CR-202]2 Was distributed by faX, mail, or direct printing on
June 21, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

